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                     N THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

JEFFERSON-PILOT INVESTMENTS, INC., a               )
North Carolina corporation,                        )
                                                   )
    Plaintiff,                                     )   Case No. 10-cv-07633
                  v.                               )
                                                   )   Judge Matthew F. Kennelly
CAPITAL FIRST REALTY, INC., an Illinois            )
corporation, SUNSET VILLAGE LIMITED                )
PARTNERSHIP, an Illinois limited partnership;      )
TCF NATIONAL BANK, a national banking              )
association; L H BLOCK ELECTRIC                    )
COMPANY, INC., an Illinois corporation,            )
DOHERTY, GIANNINI, REITZ                           )
CONSTRUCTION, INC., an Illinois corporation,       )
and EAGLE HEATING & COOLING INC., an               )
Illinois corporation, and LAYNE CHRISTENSEN )
COMPANY, a Delaware corporation; and               )
LAYNE-WESTERN, a division of Layne                 )
Christensen Company, a Delaware corporation,       )
                                                   )
     Defendants.                                   )
_________________________________________ )
                                                   )
JEFFERSON-PILOT INVESTMENTS, INC., a               )
North Carolina corporation,                        )
                                                   )
    Counter-Defendant/Counter-Plaintiff,           )
                                                   )
v.                                                 )
                                                   )
THE KLARCHEK FAMILY TRUST, a Trust                 )
organized under the laws of the State of Illinois; )
JOHN COSTELLO, not individually but solely as )
Trustee of the Klarchek Family Trust; JOHN         )
LOGIUDICE, not individually but solely as          )
Trustee of the Klarchek Family Trust; WOLIN,       )
KELTER and ROSEN, LTD., an Illinois                )
corporation; BAUCH & MICHAELS, LLC, an             )
Illinois limited liability company; CAPITAL        )
FIRST REALTY, INC., an Illinois corporation;       )
CAPITAL HOME SERVICES CORP., an Illinois )
corporation; GILSON, LABUS & SILVERMAN, )
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LLC an Illinois limited liability company; JAY      )
KLARCHEK, an individual, MICHAEL                    )
PASHAWITZ, an individual, and SUNSET                )
VILLAGE LIMITED PARTNERSHIP, an Illinois            )
limited partnership;                                )
                                                    )
   Third-Party Defendants.                          )
                                                    )

                                           ORDER

       Receiver, Steven S. Spinell, filed his Ninth Receiver Report [Docket # 359] on February

12, 2013 covering invoices for services rendered in August, and September, 2012 in the amounts

of $33,327.84, and $25,200.75, respectively, totaling $58,528.59. Included on the Receiver

invoices for August and September 2012 are $20,177.00 and $13,053.00, respectively, for

maintenance fees rendered in the same period by Receiver's related entity Kinzie Real Estate

Group, LLC. These amounts total $58,528.59.

       No objections were filed with respect to the Ninth Receiver Report;

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Court

approves the Ninth Receiver Report and Receiver, Steven S. Spinell, is authorized to make

payment to himself out of Receivership funds for compensation and property management

services in the amount of $25,298.59 and to make payment to Kinzie Real Estate Group, LLC in

the amount of $33,230.00 for landscaping and maintenance fees for the period stated in the Ninth

Receiver Report.


Date: February 27, 2013
                                    MATTHEW F. KENNELLY
                                    UNITED STATES DISTRICT JUDGE
